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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

             In re:                                                         Chapter 11

             Peer Street, Inc., et al.,1                                    Case No. 23-10815 (___)

                                                 Debtors.
                                                                            (Joint Administration Requested)



                        DEBTORS’ MOTION FOR ENTRY OF AN ORDER, PURSUANT TO
                        SECTIONS 105(a), 365(a), AND 554 OF THE BANKRUPTCY CODE,
                      AUTHORIZING THE DEBTORS TO REJECT A CERTAIN UNEXPIRED
                            LEASE OF NONRESIDENTIAL PROPERTY EFFECTIVE
                      AS OF THE PETITION DATE AND ABANDON PERSONAL PROPERTY


                      **ANY PARTY RECEIVING THIS MOTION SHOULD CAREFULLY
                      REVIEW SCHEDULE 1 TO THE PROPOSED ORDER TO DETERMINE
                      WHETHER IT IS A COUNTERPARTY TO A REJECTED LEASE THAT
                      IS THE SUBJECT OF THE RELIEF REQUESTED IN THIS MOTION**


                             The     above-captioned        debtors      and     debtors     in    possession      (collectively,

         the “Debtors”) hereby submit this motion (this “Motion”) for the entry of an order, substantially

         in the form attached hereto as Exhibit A (the “Proposed Order”), pursuant to sections 105(a),

         365(a), and 554 of title 11 of the United States Code, 11 U.SC. §§ 101, et seq. (the “Bankruptcy

         Code”), authorizing the Debtors to reject the Rejected Lease (as defined herein) set forth on

         Schedule 1 to the Proposed Order, effective as of the Rejection Date (as defined below), and to

         abandon personal property. In support of this Motion, the Debtors rely upon and incorporate by



         1
               The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
               numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
               Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
               (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
               (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415);
               PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340,
               Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.
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         reference the Declaration of David M. Dunn in Support of Chapter 11 Petitions and First Day

         Pleadings (the “First Day Declaration”),2 filed contemporaneously herewith. In further support

         of this Motion, the Debtors respectfully state as follows:

                                               JURISDICTION AND VENUE

                           1.       The United States Bankruptcy Court for the District of Delaware

         (the “Court”) has jurisdiction over these chapter 11 cases and this Motion pursuant to 28 U.S.C.

         §§ 157 and 1334, and the Amended Standing Order of Reference from the United States District

         Court for the District of Delaware dated as of February 29, 2012 (the “Amended Standing

         Order”). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and the Court may enter a

         final order consistent with Article III of the United States Constitution. Venue is proper in the

         Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory and legal predicates for the relief

         sought herein are sections 105(a), 365, and 554 of the Bankruptcy Code and Rules 6006 and 6007

         of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                                         BACKGROUND

         I.       General


                           2.       Today (the “Petition Date”), each of the Debtors commenced a voluntary

         case under chapter 11 of the Bankruptcy Code. The Debtors are authorized to operate their

         business and manage their properties as debtors in possession pursuant to sections 1107(a) and

         1108 of the Bankruptcy Code. No official committees have been appointed in these chapter 11

         cases and no request has been made for the appointment of a trustee or examiner. Additional




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              Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the First Day
              Declaration.
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         information regarding the Debtors’ business, their capital structure, and the circumstances leading

         to the filing of these chapter 11 cases is set forth in the First Day Declaration.

         II.       The Rejected Lease

                            3.       Peer Street, Inc. is currently a lessee and under an unexpired nonresidential

         lease (the “Rejected Lease”) for commercial property located at 2121 Park Place, El Segundo,

         California 90245.3 As described in the First Day Declaration, the Debtors have substantially

         reduced their workforce and operations. The Rejected Lease was utilized as the Debtors’ main

         headquarters, but the Debtors recently relocated to a more cost-effective co-working facility, and

         there is no longer any need for the Rejected Lease. Thus, the Debtors have determined that the

         Rejected Lease is no longer necessary to the Debtors’ business affairs, is not otherwise beneficial

         to their estates and presents burdensome contingent liabilities. Therefore, the Debtors have

         determined that rejecting the Rejected Lease is an appropriate exercise of their business judgment.

                                                     RELIEF REQUESTED

                            4.       By this Motion, to preserve and maximize the value of their estates, the

         Debtors, in an exercise of their business judgment, seek to reject the Rejected Lease effective as

         of the Petition Date (the “Rejection Date”), and abandon any personal property of the Debtors,

         including but not limited to, furniture, fixtures, and equipment (collectively, the “Personal

         Property”) that remains, as of the Rejection Date, on the premises (the “Premises”) subject to the

         Rejected Lease, as applicable.




         3
               The inclusion of any contract, lease, sublease, or other agreement on Schedule 1 to the Proposed Order is not
               intended as, nor shall be deemed to constitute, an admission by the Debtors or their estates that such contract,
               lease, or other agreement is or is not an executory contract or unexpired lease. The Debtors and their estates
               reserve any and all rights, claims, and defenses with respect to the characterization of the Rejected Lease under
               section 365 of the Bankruptcy Code, applicable non-bankruptcy law, or otherwise, including, without limitation,
               any and all rights to argue that the Rejected Lease does not constitute an executory contract or unexpired lease.
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                                               BASIS FOR RELIEF

         I.     Rejection of the Rejected Lease as of the Rejection Date Reflects the Debtors’ Sound
                Business Judgment.

                         5.     Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a

         debtor-in-possession “subject to the court’s approval, may assume or reject any executory contract

         or unexpired lease of the debtor.” 11 U.S.C. § 365(a). As courts have held, “[t]he purpose behind

         allowing the assumption or rejection of executory contracts is to permit the trustee or debtor-in-

         possession to use valuable property of the estate and to ‘renounce title to and abandon burdensome

         property.’” Orion Pictures Corp. v. Showtime Networks, Inc. (In re Orion Pictures Corp.), 4 F.3d

         1095, 1098 (2d Cir. 1993) (quoting 2 Collier on Bankruptcy ¶ 365.01[1] (15th ed. 1993)).

                         6.     The standard applied to determining whether the rejection of an unexpired

         lease or executory contract should be authorized is the “business judgment” standard. Sharon Steel

         Corp. v. Nat’l Fuel Gas Distr. Corp., 872 F.2d 36, 40 (3d Cir. 1989); In re HQ Global Holdings,

         Inc., 290 B.R. 507, 511 (Bankr. D. Del. 2003) (stating that a debtor’s decision to reject an

         executory contract is governed by the business judgment standard and can only be overturned if

         the decision was the “product of bad faith, whim, or caprice”); see also In re Tayfur, 599 F. App’x

         44, 49–50 (3d Cir. 2015) (extending the standard articulated in Sharon Steel to unexpired leases).

         Once a debtor states a valid business justification, “[t]he business judgment rule ‘is a presumption

         that in making a business decision the directors of a corporation acted on an informed basis, in

         good faith and in the honest belief that the action taken was in the best interests of the company.’”

         Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated Res., Inc.),

         147 B.R. 650, 656 (Bankr. S.D.N.Y. 1992) (quoting Smith v. Van Gorkom, 488 A.2d 858, 872

         (Del. 1985)).



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                        7.      The business judgment rule is crucial in chapter 11 cases and shields a

         debtor’s management from judicial second-guessing. See Comm. of Asbestos Related Litigants

         and/or Creditors v. Johns-Manville Corp., 60 B.R. 612, 615–16 (Bankr. S.D.N.Y. 1986) (“The

         Code favors the continued operation of a business by a debtor and a presumption of reasonableness

         attached to a debtor’s management decisions.”).           Generally, courts defer to a debtor-in-

         possession’s business judgment to reject a lease or an executory contract. See, e.g., NLRB v.

         Bildisco & Bildisco, 465 U.S. 513, 523 (1984), superseded by statute on other grounds,

         Bankruptcy Amendments and Federal Judgeship Act of 1984, sec. 541, § 1113, Pub. L. No.

         98-353, 98 Stat. 333 (codified at 11 U.S.C. § 1113); In re Minges, 602 F.2d 38, 43 (2d Cir. 1979);

         In re Riodizio, 204 B.R. 417, 424–25 (Bankr. S.D.N.Y. 1997); In re G Survivor Corp., 171 B.R.

         755, 757 (Bankr. S.D.N.Y. 1994).

                        8.      Upon finding that the Debtors have exercised their sound business judgment

         in determining that the rejection of the Rejected Lease is in the best interests of the Debtors and

         their estates, the Court should approve the proposed rejection under section 365(a) of the

         Bankruptcy Code. See, e.g., Westbury Real Estate Ventures, Inc. v. Bradlees, Inc. (In re Bradlees

         Stores, Inc.), 194 B.R. 555, 558 n.1 (Bankr. S.D.N.Y. 1996); Summit Land Co. v. Allen (In re

         Summit Land Co.), 13 B.R. 310, 315 (Bankr. D. Utah 1981) (holding that, absent extraordinary

         circumstances, court approval of a debtor’s decision to assume or reject an executory contract

         “should be granted as a matter of course”). If a debtor’s business judgment has been reasonably

         exercised, a court should approve the assumption or rejection of an unexpired lease or executory

         contract. See, e.g., Sharon Steel Corp., 872 F.2d at 39-40. The Debtors have determined that the

         Rejected Lease is not integral to the Debtors’ chapter 11 efforts, is not otherwise beneficial to the

         Debtors’ estates, and may present burdensome contingent liabilities. Accordingly, the Debtors’


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         decision to reject the Rejected Lease is an exercise of sound business judgment, and therefore

         should be approved.

                         9.      To avoid potentially paying any unnecessary expenses related to the

         Rejected Lease, the Debtors seek to reject the Rejected Lease effective as of the Petition Date. The

         Court has routinely authorized a debtor’s rejection of unexpired leases and executory contracts as

         of the date of the filing of the applicable rejection motion. See In re Chi-Chi’s, Inc., 305 B.R. 396,

         399 (Bankr. D. Del. 2004); see also In re Fleming Cos., Inc., 304 B.R. 85, 96 (Bankr. D. Del.

         2003) (rejection permitted effective as of the date of the motion or the date the premises

         surrendered). Generally, courts have permitted retroactive rejection of an unexpired lease and

         executory contract when the non-debtor party to the agreement was given definite notice of the

         intention to reject. See, e.g., In re FLYi, Inc., Case No. 05-20011 (MFW) (Bankr. D. Del. Aug.

         21, 2006). A court may permit such retroactive rejection to avoid unduly exposing a debtor’s

         estate to unwarranted Postpetition administrative or other expenses. See NLRB v. Bildisco &

         Bildisco, 465 U.S. 513, 523 (1984) (stating that rejection relates back to the petition date);

         Stonebriar Mall Ltd. P’ship v. CCI Wireless, LLC (In re CCI Wireless, LLC), 297 B.R. 133, 140

         (D. Col. 2003) (holding that a bankruptcy court “has authority under section 365(d)(3) to set the

         effective date of rejection at least as early as the filing date of the motion to reject”); Constant Ltd.

         P’ship v. Jamesway Corp. (In re Jamesway Corp.), 179 B.R. 33, 37-8 (S.D.N.Y. 1995) (affirming

         bankruptcy court’s retroactive approval of lease rejection).

                         10.     The facts in these chapter 11 cases and the balance of the equities favor the

         Debtors’ rejection of the Rejected Lease effective as of the Rejection Date. Without doing so, the

         Debtors may incur unnecessary administrative charges for an agreement that is not necessary to

         their business affairs or chapter 11 efforts. The Debtors do not need the leasehold interest created


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         by the Rejected Lease to conduct their go-forward businesses and the Debtors do not derive any

         meaningful benefit under the Rejected Lease. On the other hand, requiring the Debtors to continue

         to perform under the Rejected Lease after the Petition Date could impose onerous obligations on

         the Debtors and their estates. Without rejecting the Rejected Lease, the Debtors may incur

         unnecessary administrative charges that are not necessary to their ongoing business operations.

                         11.    Moreover, the lessor under the Rejected Lease will not be unduly prejudiced

         if the Rejected Lease is rejected effective as of the Rejection Date because, prior to the Petition

         Date, the Debtors vacated the Premises, and on the Petition Date, the Debtors have served this

         Motion on the lessor and/or their agents or representatives by overnight delivery, electronic mail

         and/or facsimile, thereby advising such lessor that the Debtors intend to reject the Rejected Lease

         effective as of the Rejection Date. Furthermore, as of the Rejection Date, the Debtors will have

         relinquished the keys to the Premises to the lessor or its representatives, abandoned the Premises,

         and, in conjunction therewith, indicated that they were unequivocally surrendering possession as

         a result thereof.

                         12.    In light of the foregoing facts and circumstances, the Debtors respectfully

         submit that their rejection of the Rejected Lease under section 365 of the Bankruptcy Code,

         effective as of the Rejection Date, is a sound exercise of their business judgment, and is necessary,

         prudent, and in the best interests of the Debtors, their estates, and their creditors. As it is in the

         Debtors’ and their estates’ interests to eliminate the potential incurrence of administrative

         expenses, and to avoid the potential accrual of any further obligations under the Rejected Lease,

         the Debtors respectfully submit that the retroactive rejection of the Rejected Lease as of the

         Petition Date is appropriate. Accordingly, entry of the Proposed Order is warranted.




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         II.       Authorizing the Debtors to Abandon Any Personal Property Remaining at the
                   Premises as of the Rejection Date Is Appropriate.

                            13.      In the event that any Personal Property does remain on the Premises as of

         the Rejection Date, the Debtors request the Court’s approval of the Debtors’ abandonment of such

         Personal Property (collectively, the “Abandoned Personal Property”), pursuant to section 554(a)

         of the Bankruptcy Code, effective as of the Rejection Date.4

                            14.      Section 554(a) of the Bankruptcy Code provides that “[a]fter notice and a

         hearing, the [debtor] may abandon any property of the estate that is burdensome to the estate or

         that is of inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). The right to abandon

         is virtually unfettered, unless abandonment of the property will contravene laws designed to

         protect public health and safety and the property poses an imminent threat to the public’s welfare.

         See In re Midlantic Nat’l Bank, 474 U.S. 494, 501 (1986). Neither of these limitations is relevant

         in this case.

                            15.      Prior to the Petition Date, the Debtors either sold their Personal Property

         (such as furniture) or relocated Personal Property to their new, streamlined co-working space

         where they will operate during the chapter 11 cases. Any Personal Property left behind is of

         nominal, if any, value to the Debtors or their estates.

                            16.      Among other things, the Debtors believe that the cost of retrieving,

         marketing, and reselling the Abandoned Personal Property—to the extent there is any—outweighs

         any recovery that the Debtors and their estates could reasonably hope to attain for such Abandoned

         Personal Property. As a result, the Debtors have determined, in their business judgment, that the

         abandonment of any such Abandoned Personal Property, effective as of the Rejection Date, is a



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               To the Debtors’ knowledge, the only remaining Personal Property at the Premises is copier or printer equipment
               that is subject to an expired equipment lease that the Debtors no longer utilize in their ongoing operations.
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         sound exercise of their business judgment, and is necessary, prudent, and in the best interests of

         the Debtors, their estates, and creditors.

                                           RESERVATION OF RIGHTS

                        17.     Nothing in the Proposed Orders or this Motion: (a) is intended or shall be

         deemed to constitute an assumption of any agreement pursuant to section 365 of the Bankruptcy

         Code or an admission as to the validity of any claim against the Debtors and their estates; (b) shall

         impair, prejudice, waive, or otherwise affect the rights of the Debtors and their estates with respect

         to the validity, priority, or amount of any claim against the Debtors and their estates; or (c) shall

         be construed as a promise to pay a claim.

                                                         NOTICE

                        18.     Notice of this Motion has been provided to: (a) the Office of the United

         States Trustee for the District of Delaware; (b) the Debtors’ thirty (30) largest unsecured creditors;

         (c) counsel to Magnetar Financial LLC, as agent for the prepetition secured lenders; (d) the

         counterparty under the Rejected Lease and their counsel, if known; and (e) all parties that have

         filed a notice of appearance and request for service of papers pursuant to Bankruptcy Rule 2002.

         In light of the nature of the relief requested herein, the Debtors submit that no other or further

         notice is necessary.




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                                                   CONCLUSION

                          WHEREFORE, the Debtors request entry of the Proposed Order, granting the

         relief requested herein and such other and further relief as is just and proper.

             Dated: June 26, 2023

             YOUNG CONAWAY STARGATT &                          KRAMER LEVIN NAFTALIS &
             TAYLOR, LLP                                       FRANKEL LLP
                                                               P. Bradley O’Neill (pro hac vice pending)
             /s/ Shella Borovinskaya                           Caroline Gange (pro hac vice pending)
             Joseph Barry (Del. Bar No. 4221)                  1177 Avenue of the Americas
             Ryan M. Bartley (Del. Bar No. 4985)               New York, New York 10036
             S. Alexander Faris (Del. Bar No. 6278)            Telephone: (212) 715-9511
             Shella Borovinskaya (Del. Bar No. 6758)           Facsimile: (212) 715-8000
             Rodney Square                                     Email: boneill@kramerlevin.com
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             Wilmington, Delaware 19801
             Telephone: (302) 571-6600                          Proposed Co-Counsel to the Debtors and
             Facsimile: (302) 571-1253                          Debtors in Possession
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             Proposed Co-Counsel to the Debtors and
             Debtors in Possession




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                                   EXHIBIT A

                                 Proposed Order




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                         Chapter 11

             Peer Street, Inc., et al.,1                                    Case No. 23-_____ (___)

                                                 Debtors.
                                                                            (Joint Administration Requested)



             ORDER PURSUANT TO SECTIONS 105(a), 365(a), AND 554 OF THE BANKRUPTCY
               CODE, AUTHORIZING THE DEBTORS TO REJECT A CERTAIN UNEXPIRED
                        LEASE OF NONRESIDENTIAL PROPERTY EFFECTIVE
              AS OF THE PETITION DATE AND ABANDONMENT OF PERSONAL PROPERTY

                             Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors

         and debtors in possession (collectively, the “Debtors”) for the entry of an order, pursuant to

         sections 105(a), 365, and 554 of the Bankruptcy Code, authorizing the Debtors to reject that certain

         lease set forth on Schedule 1 to this Order (the “Rejected Lease”), effective as of the Petition Date

         (the “Rejection Date”) and to reject personal property; and due and proper notice of the Motion

         having been given; and it appearing that no other or further notice of the Motion is required except

         as otherwise provided herein; and it appearing that this Court has jurisdiction to consider the

         Motion in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order; and it

         appearing that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that

         venue of this proceeding and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it



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               The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
               numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
               Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
               (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
               (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415);
               PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340,
               Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.
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               Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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         appearing that the relief requested in the Motion and provided for herein is in the best interest of

         the Debtors, their estates, and their creditors; and after due deliberation and sufficient cause

         appearing therefor, IT IS HEREBY ORDERED THAT:

                          1.    The Motion is GRANTED as set forth herein.

                          2.    Pursuant to sections 105(a) and 365(a) of the Bankruptcy Code and

         Bankruptcy Rule 6006, the Rejected Lease is hereby rejected by the Debtors, with such

         rejection being effective as of the Rejection Date which, for the avoidance of doubt, is the

         Petition Date.

                          3.    Pursuant to sections 105(a) and 554(a) of the Bankruptcy Code and

         Bankruptcy Rule 6007, any Personal Property remaining, as of the Petition Date, on the

         Premises is hereby abandoned by the Debtors, with such abandonment being effective as of

         the Rejection Date.

                          4.    Nothing herein shall impair, prejudice, waive or otherwise affect the

         rights of the Debtors to: (a) assert that the Rejected Lease (i) was terminated on the Rejection

         Date, or (ii) is not an executory contract or unexpired lease under 365 of the Bankruptcy Code;

         (b) assert that any claim for damages arising from the rejection of the Rejected Lease is

         limited to the remedies available under any applicable termination provisions of the Rejected

         Lease; (c) assert that any such claim is an obligation of a third party, and not that of the

         Debtors or their estates; or (d) otherwise contest any claims that may be asserted in connection

         with the Rejected Lease. All rights, claims, defenses and causes of action that the Debtors

         and their estates may have against the counterparties to the Rejected Lease, whether or not

         such claims arise under, are related to the rejection of, or are independent of the Rejected




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         Lease, are reserved, and nothing herein is intended or shall be deemed to impair, prejudice,

         waive or otherwise such rights, claims, defenses and causes of action.

                        5.     Claims arising out of the rejection of the Rejected Lease must be filed

         on or before the deadline for filing proofs of claim based on prepetition claims against any of

         the Debtors as set by an order of this Court.

                        6.     The requirements in Bankruptcy Rule 6006 are satisfied.

                        7.     The Debtors are authorized to take any and all actions necessary to

         effectuate the relief granted herein.

                        8.     Notwithstanding any applicability of Bankruptcy Rule 6004(h), the

         terms and conditions of this Order shall be effective and enforceable immediately upon its

         entry.

                        9.     This Court shall retain jurisdiction with respect to all matters arising

         from or related to the implementation of this Order.




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                                                            Schedule 1

                                                         Rejected Lease7


                Debtor(s)            Counterparty            Counterparty’s Address             Rejected Agreement

             Peer Street, Inc.    2121 Park Place Fee c/o Intercontinental Real               2121 Park Place Office
                                  Owner CA, LLC       Estate Corporation                      Lease Agreement
                                                      15260 Ventura Blvd.,                    Between 2121 Park
                                                      Suite 1510                              Place Fee Owner CA,
                                                      Sherman Oaks, CA 91403                  LLC, a Delaware
                                                      (Attn: Thomas Ball)                     limited liability
                                                                                              company as Landlord
                                                                                              and Peer Street, Inc., a
                                                                                              Delaware corporation
                                                                                              as Tenant Dated March
                                                                                              1, 2021




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               Each, as may be amended, modified, or supplemented from time to time and together with any schedules thereto.
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